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                 IN THE UNITED STATES BANKRUPTCY COURT
                     SOUTHERN DISTRICT OF NEW YORK

  ------------------------------ x
                                     :
       In re                         :             Chapter 11
                                     :
  DELPHI CORPORATION et al.,         :             Case No. 05-44481 (rdd)
                                     :
                            Debtors. :             (Jointly Administered)
                                     :
  ------------------------------ x

                               AFFIDAVIT OF SERVICE

          I, Amber M. Cerveny, being duly sworn according to law, deposes and says that I
  am employed by Kurtzman Carson Consultants, LLC, proposed claims and noticing
  agent for the Debtors in the above-captioned cases.

          On October 10, 2005, under my direction and under my supervision, employees
  of KCC caused to be served, via overnight delivery the documents listed in Section 1 on
  the parties attached hereto as Exhibit A:

         Section 1

I. Voluntary Petitions for the following Debtors: ASEC Manufacturing General
   Partnership, ASEC Sales General Partnership, Aspire, Inc., Delco Electronics Overseas
   Corporation, Delphi Automotive Systems (Holding) Inc., Delphi Automotive Systems
   Global (Holding), Inc., Delphi Automotive Systems Human Resources LLC, Delphi
   Automotive Systems International, Inc., Delphi Automotive Systems Korea Inc.,
   Delphi Automotive Systems LLC, Delphi Automotive Systems Overseas Corporation,
   Delphi Automotive Systems Risk Management Corp., Delphi Automotive Systems
   Services LLC, Delphi Automotive Systems Tennessee, Inc., Delphi Automotive
   Systems Thailand, Inc., Delphi China LLC, Delphi Connection Systems, Delphi
   Corporation, Delphi Diesel Systems Corp., Delphi Electronics (Holding) LLC, Delphi
   Foreign Sales Corporation, Delphi Integrated Service Solutions, Inc., Delphi
   International Holdings Corp., Delphi International Services, Inc., Delphi Liquidation
   Holding Company, Delphi LLC, Delphi Mechatronic Systems, Inc., Delphi Medical
   Systems Colorado Corporation, Delphi Medical Systems Corporation, Delphi Medical
   Systems Texas Corporation, Delphi NY Holding Corporation, Delphi Services Holding
   Corporation, Delphi Technologies Inc., DREAL, Inc., Environmental Catalysts, LLC,
   Exhaust Systems Corporation, Packard Hughes Interconnect Company, Specialty
   Electronics International Ltd, Specialty Electronics, Inc., [Attached hereto as Exhibit
   B]

II. Notice of Organizational Meeting (Docket No. 37) [Attached hereto as Exhibit C]




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 III. Bridge order under 11 U.S.C. §§ 105 and 363(b) Authorizing Payment of Certain
      Prepetition (A) Shipping and Delivery Charges for Goods in Transit and (B) Customs
      Duties (“Shipping and Customs”) (Docket No. 40) [Attached hereto as Exhibit D]

 IV. Bridge Order under 11 U.S.C. §§ 363 and 553 For Authorizing (I) Continued
     Maintenance of Existing Bank Accounts, (II) Continued Use of Existing Cash
     Management Systems, (III) Continued Use of Existing Business Forms, (IV)
     Preservation and Exercise of Intercompany Setoff Rights and (V) Grant of
     Administrative Status for Post-Petition Intercompany Transactions (“Cash
     Management”) (Docket No. 36) [Attached hereto as Exhibit E]

  V. Bridge Order under 11 U.S.C. §345 Authorizing Continued Use of Existing Investment
     Guidelines (“Investment Guidelines”) (Docket No. 38) [Attached hereto as Exhibit F]

 VI. Bridge Order (I) Authorizing the Debtors to Pay Prepetition Wages and Salaries to
     Employees and Independent Contractors; (II) Authorizing the Debtors to Pay Certain
     Prepetition Benefits and Continue the Maintenance of Human Capital Benefit Programs
     in the Ordinary Course; and (III) Directing Banks to Honor Prepetition Checks for
     Payment of Prepetition Human Capital Obligations (“Human Capital Obligations”)
     (Docket No. 31) [Attached hereto as Exhibit G]

VII. Bridge Order Under 11 U.S.C. §§ 361, 362, and 363 Authorizing Use of Cash
     Collateral and Adequate Protection to Prepetition Secured Parties ("Cash Collateral
     Bridge Order") (Docket No. 46) [Attached hereto as Exhibit H]

VIII. Bridge Order Under 11 U.S.C. §§ 105, 363, 1107, and 1108 and Fed.R.Bankr.P. 4001
      Authorizing Debtors to Enter Into, Continue Performance Under, and Provide Credit
      Support Under Derivative Contracts ("Derivative Contracts Bridge Order") (Docket
      No. 45) [Attached hereto as Exhibit I]

 IX. Bridge Order Under 11 U.S.C. §§ 105(a), 363, 1107, and 1108 Authorizing the Debtors
     to Honor Prepetition Obligations to Customers and to Otherwise Continue Customer
     Programs in Ordinary Course of Business ("Customer Programs Bridge Order")
     (Docket No. 39) [Attached hereto as Exhibit J]

  X. Bridge Order Under 11 U.S.C. § 503(b) Confirming Grant of Administrative Expense
     Status to Obligations Arising from Postpetition Delivery of Goods and Authorizing
     Debtors to Pay Such Obligations in Ordinary Course of Business ("Administrative
     Expense Bridge Order") (Docket No. 35) [Attached hereto as Exhibit K]

 XI. Bridge Order Under 11 U.S.C. §§ 105(a) and 363(b) Authorizing (I) Payment of
     Prepetition Obligations to Foreign Creditors and (II) Financial Institutions to Honor and
     Process Related Checks and Transfers ("Foreign Creditors Bridge Order") (Docket No.
     32) [Attached hereto as Exhibit L]

XII. Bridge Order Under11 U.S.C. §§ 105(a), 363, 364, 1107, and 1108 and Fed. R. Bankr.
     P. 6004 and 9019 Authorizing Continuation of Vendor Rescue Program and Payment of
     Prepetition Claims of Financially Distressed Sole Source Suppliers and Vendors
     Without Contracts ("Essential Suppliers Bridge Order") (Docket No. 30) [Attached
     hereto as Exhibit M]

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                           EXHIBIT A
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                                                                                                            Master Service List




Contact                             Company                                Address 1                               Address 2                   City                     State     Zip           Country    Fax
Akihiko Imaya Group                 Sharp Electronics Corp                 Deputy General Manager                  26131 Chinomoto Cho Tenri   Nara                               632-8567       Japan     81-XXX-XX-XXXX
Albert Togut                        Togut Segal & Segal LLP                One Penn Plaza                          Suite 3335                  New York                 NY        10119           US       212-967-4258
Alps Automotive Inc                 Muneki Mitch Ishida                    1500 Atlantic Blvd                                                  Auburn Hills             MI        48326           US       248-391-1564
Ann Wagoner                         Applied Bio Systems                    850 Lincoln Centre Dr                                               Foster City              CA        94404           US       650-638-5998
Attn Insolvency Department          Internal Revenue Service               290 Broadway                            5th Floor                   New York                 NY        10007           US
Attorney General Eliot Spitzer      Office of New York State               120 Broadway                                                        New York City            NY        10271           US
Barry Perry                         Engelhard Corporation                  101 Wood Ave                                                        Iselin                   NJ        08830           US       732-906-0337
Bill Staron                         Dmc 2 Canada Corporation               2347 Commercial Dr                                                  Auburn Hills             MI        48326           US       248-340-2471
Bjoern Goeke                        Victory Packaging                      3555 Timmons Lane                       Suite 1440                  Houston                  TX        77027           US       713-961-3824
Brad Countryman Salesman            Isi Of Indiana Inc                     1212 East Michigan St                                               Indianapolis             IN        46202           US       317-631-7981
Brent Mewhinney                     Texas Instruments Inc                  12900 North Meridian St                 Suite 175 Ms 4070           Carmel                   IN        46032           US       317-573-6410
Brian Mcgowan Sales Manager         Corus Lp                               496 Highway 35 Rr2                                                  Pontypool                ON        LOA 1KO       Canada     705-277-9742
Brian Ruel                          Timken Company                         31100 Telegraph Rd Ste 270                                          Bingham Farms            MI        48025           US       248-433-2253
Bruce A Fassett                     Carlisle Engineered Prods              100 Seventh Ave Ste 100                                             Chardon                  OH        44024           US       734-367-1431
Burr & Forman LLP                   Michael Leo Hal                        420 North Twentieth Street              Suite 3100                  Birmingham               AL        35203           US
Chet Korzeniewski                   Fujitsu Ten Corporation                46029 Five Mile Rd                                                  Plymouth                 MI        48170           US       734-414-6660
Clifford Trapani                    JPMorgan Chase Bank NA                 Loan and Agency Services Group          1111 Fannin 10th Floor      Houston                  TX        77002           US       713-750-2948
Darrell Seitz Senior Acct Mgr       Hitachi Automotive                     955 Warwick Rd                                                      Harrodsburg              KY        40330           US       248-474-5097
David Bader                         Hss Llc                                5446 Dixie Highway                                                  Saginaw                  MI        48601           US       989-777-4818
David L Resnick                     Rothchild Inc                          1251 Avenue of the Americas                                         New York                 NY        10020           US       212-403-5454
David M Mcginnis                    Murata Electronics North               2200 Lake Park Dr                                                   Smyrna                   GA        30080           US       678-842-6625
Deirdre A Martini                   United States Trustee                  33 Whitehall Street                     Suite 2100                  New York                 NY        10004           US       212-668-2256
Devin Denner Sales Manager          Olin Corp                              427 N Shamrock St                                                   East Alton               IL        62024           US       618-258-3481
Don Duda President                  Methode Electronics Inc                7401 W Wilson                                                       Chicago                  IL        60706           US       708-867-3288
Donald Bernstein                    Davis Polk & Wardwell                  450 Lexington Avenue                                                New York                 NY        10017           US       212-450-3092
Douglas Bartner Jill Frizzley       Shearman & Sterling LLP                599 Lexington Avenue                                                New York                 NY        10022           US       212-848-7179
Dr Jurgen W Gromer                  Tyco Electronics Corp                  PO Box 3608                                                         Harrisburg               PA        17105           US       717-592-7555
Dr Jurgen W Gromer                  Tyco Electronics Corp                  PO Box 3608                                                         Harrisburg               PA        17105-3608      US       717-592-7555
Dr Jurgen W Gromer                  Tyco Electronics Corp                  Amperestrabe 1214                                                   Bensheim                           D-64625      Germany     49-0-62-51-133-1-548
Ed Mike Sales Manager               Solectron De Mexico Sa De Cv           Solectron Invotronics                   26525 American Dr           Southfield               MI        48034           US       248-263-8701
Frank H Avant President             Tdk Corporation Of America             1221 Business Center Dr                                             Mount Prospect           IL        60056           US       847-803-1125
Gary Thoe Chairman                  Waupaca Foundry Inc                    311 S Tower Rd                                                      Waupaca                  WI        54981           US       715-258-1712
Gordon Diag                         Pbr Automotive Usa Pacific Group       140 Ellen Dr                                                        Orion Township           MI        48359           US       248-377-4939
Harold M Stratton                   Strattec Security Corp                 3333 West Good Hope Rd                                              Milwaukee                WI        53209           US       414-247-3329
Hironobu Ono                        Cataler North America Corp             7800 Chihama                                                        Kakegawa-City Shizuoka                            Japan     81-XXX-XX-XXXX
Hitachi Automotive                                                         34500 Grand River Ave                                               Farmington Hills         MI        48335           US       248-474-5097
Hitachi Chemical Asia Pacific       Hitachi Chemical Asia Pacific          Bedok Plant 20                          Bedock South Rd             Singapore                          469277       Singapore   656-444-6002
Infineon Technologies                                                      StMartinStrasse 53                                                  Munich                             81669        Germany     49-0-89-234-8-52-02
James D Clark                       IUE Comm Workers of America            501 3rd St NW 6th Floor                                             Washington               DC        20001           US       202-434-1343
James Le                            Kurtzman Carson Consultants            12910 Culver Blvd                       Suite I                     Los Angeles              CA        90066           US       310-751-1561
Jeffrey Cohen                       Pension Benefit Guaranty Corporation   1200 K Street NW                        Suite 340                   Washington               DC        20005           US       202-326-4112
Jeffrey Cohen                       Pension Benefit Guaranty Corp          1200 K St NW                                                        Washington               DC        20005           US       202-326-4112
Jim Offer                           Pechiney Rolled Products               39111 W Six Mile Rd                                                 Livonia                  MI        48152           US       734-632-8483
Jim Trent                           Nec Electronics Inc                    Three Galleria Tower                    13155 Noel Rd Ste 1100      Dallas                   TX        75240           US       972-655-5133
Joe M Dorris President              Futaba Corp Of America                 2865 Wall Triana Hwy                                                Huntsville               AL        35824           US       256-461-7741
Joe Minville                        Flextronics Intl Asia Pacific          2 Robbins Rd                                                        Westford                 MA        01886           US       978-392-3011
Joel Robinson President Bob Finn    American Axle & Mfg Inc                One Dauch Dr                                                        Detroit                  MI        48211           US       313-974-2870
John Devine                         General Motors Corporation             300 Renaissance Center                  PO Box 300                  Detroit                  MI        48265           US       517-272-3709
John Devine                         General Motors Corporation             300 Renaissance Center                  PO Box 300                  Detroit                  MI        48265           US       517-272-3709
John Nielsen Dir Sales              Trw Automotive                         12000 Tech Center Dr                                                Livonia                  MI        48150           US       734-266-5704
John Wm Butler J Lyons R Meisler    Skadden Arps Slate Meagher & Flom      333 W Wacker Dr                         Suite 2100                  Chicago                  IL        60606           US       312-407-0411
Kayalyn A Marafioti Thomas J Matz   Skadden Arps Slate Meagher & Flom      4 Times Square                                                      New York                 NY        10036           US       212-735-2000
Kenji Ito Vp Larry Khaykin          Aw Transmission Eng Aisin Seiki Co     Metro West Industrial Park              14933 Keel St               Plymouth                 MI        48170           US       734-416-3844
Kenneth S Ziman Robert H Trust      Simpson Thatcher & Bartlett LLP        425 Lexington Avenue                                                New York                 NY        10017           US       212-455-2502
Khuyen Ta                           JPMorgan Chase Bank NA                 Agent Bank Services Group               1111 Fannin 10th Floor      Houston                  TX        77002           US       713-750-2938
Lance Williams Director Of Sales    Semiconductor Components               2000 S County Trail                                                 East Greenwich           RI        02818           US       734-953-6860
Leo W Gerard                        United Steel Workers                   5 Gateway Center                                                    Pittsburgh               PA        15222           US       412-562-2484
Linda Lynch                         Robert Bosch Corporation               38000 Hills Tech Dr                                                 Farmington Hills         MI        48331           US       248-848-6505
Lonie A Hassel                      Groom Law Group                        1701 Pennsylvania Avenue NW                                         Washington               DC        20006           US       202-659-4503
Martin J Bienenstock                Weil Gotshal & Manges LLP              767 Fifth Avenue                                                    New York                 NY        10153           US       212-310-8007
Michael Rudnicki                    Niles Usa Inc                          41129 Jo Dr                                                         Novi                     MI        48375           US       248-427-9701
Patrick Healy                       Law Debenture Trust Company of NY      780 Third Ave 31st Fl                                               New York                 NY        10017           US       212-750-1361
Paul Grimme                         Freescale Semiconductor Inc            6501 William Cannon Dr West                                         Austin                   TX        78735           US       512-895-8746
Peter Bauer EVP                     Infineon Technologies                  PO Box 80 09 49                                                     Munich                             81609        Germany     49-0-89-234-8-52-02
Peter Bauer, EVP                    Infineon Technologies                  PO Box 80 09 49                                                     Munich                             81609        Germany     49-0-89-234-8-52-02
Peter H Huizinga                    Siemens Automotive Ltd                 2400 Executive Hill Blvd                                            Auburn Hills             MI        48326           US       248-209-7877
Pioneer Indl Comp                   Auto Electr Sales Inc                  Kevin M Martin SVP                      22630 Haggerty Rd           Farmington               MI        48335           US       248-449-1940
Ralph Seibt Sales Manager           Westwood Associates Inc                612 Willers Farm Rd                                                 Milford                  CT        06460           US       203-283-3100
Randall S Eisenberg                 FTI Consulting Inc                     3 Times Square                          11th Floor                  New York                 NY        10036           US       212-841-9350




  In re Delphi Corporation et al
  Case No. 05-44481                                                                                               1 of 2                                                                                   10/10/20058:44 AM
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                                                                                                      Master Service List




Contact                             Company                              Address 1                           Address 2                     City               State     Zip        Country    Fax
Reorganization Branch               Securities and Exchange Commission   233 Broadway                                                      New York           NY        10279        US
Richard Shoemaker                   United Auto Workers                  8000 E Jefferson                                                  Detroit            MI        48214        US       313-823-6016
Robert Caruso                       FTI Consulting Inc                   333 West Wacker Drive               Suite 600                     Chicago            IL        60606        US       312-759-8119
Robert Siegel                       O'Melveny & Meyer LLP                400 South Hope Street                                             Los Angeles        CA        90071        US       213-430-6407
Ron Schubel                         Molex Inc                            222 Wellington Court                                              Lisle              IL        60532        US       630-813-5888
Russ Pollack Director Of Sales      Traxle Mfg Ltd                       25300 Telegraph Rd Ste 450          Raleigh Office Center         Southfield         MI        48034        US       248-355-3558
Sam L Trency                        Philips Semiconductors               1817 Dogwood Dr                                                   Kokomo             IN        46902        US       765-452-9915
Scott Dekoker                       Autocam Corporation                  East Paris Ave                                                    Kentwood           MI        49512        US       616-698-6876
Scott King                          FTI Consulting Inc                   Park One Center                     6100 Oaktree Blvd Suite 200   Cleveland          OH        44131        US       216-986-2749
Scott Shilling Sales Director       Sgs Thompson                         Victor Park West                    19575 Victor Parkway          Livonia            MI        48152        US       734-462-4034
Sean Corcoran Karen Craft           Delphi Corporation                   5725 Delphi Drive                                                 Troy               MI        48098        US       248-813-2670
Steven M Cimalore                   Wilmington Trust Company             1100 N Market St                    Rodney Square N               Wilmington         DE        19890        US       302-636-4143
Ted B Opie                          General Electric Company             Two Towne Square                                                  Southfield         MI        48076        US       248-262-2663
Thomas F Maher R Duker G Russello   JPMorgan Chase Bank NA               270 Park Avenue                                                   New York           NY        10017        US       212-270-0430
Tim Kuppler Vice President          Ti Group Automotive System           12345 E Nine Mile                                                 Warren             MI        48090        US       586-427-3175
Tom A Jerman Rachel Janger          O'Melveny & Meyer LLP                1625 Eye Street NW                                                Washington         DC        20006        US       202-383-5414
Tracy Delcampo                      Calsonic N America Inc               27000 Hills Tech Court                                            Farmington Hills   MI        48331        US       248-848-4850
Vilma Francis                       JPMorgan Chase Bank NA               270 Park Avenue                                                   New York           NY        10017        US       212-270-5484
Vince Sarrecchia                    Panasonic Automotive                 26455 American Dr                                                 Southfield         MI        48034        US       248-447-7008
Y Yokoya                            Hitachi Chemical Asia Pacific        Loyang Plant 32                     Loyang Way                    Singapore                    508730    Singapore   656-546-2842




  In re Delphi Corporation et al
  Case No. 05-44481                                                                                         2 of 2                                                                            10/10/20058:44 AM
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                            EXHIBIT B
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                              CONSOLIDATED LIST OF CREDITORS HOLDING
                                THE FIFTY LARGEST UNSECURED CLAIMS

                    Following is a list of the Debtors’ creditors holding the fifty largest unsecured
     claims on a consolidated basis with its debtor-affiliates.1 The list is prepared in accordance with
     Rule 1007(d) of the Federal Rules of Bankruptcy Procedure for filing a chapter 11 case. This list
     does not include (1) persons who come within the definition of an “insider” set forth in 11 U.S.C.
     § 101(31), or (2) secured creditors, unless the value of the collateral is such that the unsecured
     deficiency places the creditor among the holders of the fifty largest unsecured claims.

                                                                                             Contingent,
                                                  Person(s) Familiar
         Name, Address, Phone and Fax                                                        Unliquidated     Approximate
                                                    with Debtors’         Nature of Claim
                No. of Creditor                                                                and/or        Amount of Claim
                                                       Account
                                                                                              Disputed

     General Motors Corporation
     300 Renaissance Center
     P.O. Box 300
     Detroit, MI 48265-3000                                                                   Contingent
                                                                          Trade, Warranty,
1.                                                John Devine, CFO                               and             Unknown
                                                                             and Other
                                                                                             Unliquidated
     Tel: 313-665-4898 (Legal)
     Tel: 313-556-5000 (Main)
     Fax: 517-272-3709

     International Union of Electronic,
     Electrical, Salaried, Machine and
     Furniture Workers –
     Communications Workers of
     America                                                                                  Contingent
                                                    James D. Clark,         Wages and
2.   501 3rd Street N.W., 6th Floor                                                              and             Unknown
                                                       President             Benefits
     Washington, D.C. 20001                                                                  Unliquidated

     Tel: 202-434-1156
     Fax: 202-434-1343


     Pension Benefit Guaranty Corp
     1200 K Street, N.W.
                                                                                              Contingent
     Washington, D.C. 20005                      Jeffrey Cohen, Chief
3.                                                                           Guaranty            and             Unknown
                                                        Counsel
                                                                                             Unliquidated
     Tel: 202-326-4020
     Fax: 202-326-4112




     1
         All claims of affiliates are reported on a consolidated basis.
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                                                                                Contingent,
                                        Person(s) Familiar
      Name, Address, Phone and Fax                                              Unliquidated     Approximate
                                          with Debtors’       Nature of Claim
             No. of Creditor                                                      and/or        Amount of Claim
                                             Account
                                                                                 Disputed

     United Auto Workers
     8000 E. Jefferson
                                        Richard Shoemaker,
     Detroit, MI 48214                                                           Contingent
                                         Vice President &       Wages and
4.                                                                                  and             Unknown
                                           Director GM           Benefits
     Tel: 313-926-5000                                                          Unliquidated
                                            Department
     Fax: 313-823-6016


     United Steel Workers
     5 Gateway Center
     Pittsburgh, PA 15222                                                        Contingent
                                          Leo W. Gerard,        Wages and
5.                                                                                  and             Unknown
                                            President            Benefits
     Tel: 412-562-2400                                                          Unliquidated
     Fax: 412-562-2484


     Wilmington Trust Company
     Corporate Trust Office
     1100 North Market Street Rodney
     Square North,
                                        Steven M. Cimalore,
6.   Wilmington, DE 19890                                         Notes                           $2,000,000,000
                                           Vice President
     Tel: 302-636-6058
     Fax: 302-636-4143



     Law Debenture Trust Company of
     New York
     Corporate Trust Office
     780 Third Ave, 31st Floor
     New York, NY 10017

     Tel: 212-750-6474
                                          Patrick Healy,
     Fax: 212-750-1361
                                          Vice President
                                                                  Junior
     and
7.                                             and             Subordinated                       $412,371,975
                                                                  Notes
     Wilmington Trust Company
                                        Steven M. Cimalore,
     Corporate Trust Office
                                           Vice President
     1100 North Market Street Rodney
     Square North,
     Wilmington, DE 19890

     Tel: 302-636-6058
     Fax: 302-636-4143
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                                                                                          Contingent,
                                                Person(s) Familiar
        Name, Address, Phone and Fax                                                      Unliquidated     Approximate
                                                  with Debtors’         Nature of Claim
               No. of Creditor                                                              and/or        Amount of Claim
                                                     Account
                                                                                           Disputed

      Flextronics International Asia Pacific
      2 Robbins Road                             Joe Minville, Sr.
      Westford, MA 01886                        Director, Business
8.                                                                          Trade                            $40,781,535
                                               Development, Global
      Tel: 978-392-3015                        Automotive Markets
      Fax: 978-392-3011

      Freescale Semiconductor Inc              Paul Grimme, Senior
      6501 William Cannon Drive West            Vice President and
      Austin, TX 78735-8598                     General Manager,
9.                                                                          Trade                            $22,710,027
                                                Transportation and
      Tel: 512-895-2093                         Standard Products
      Fax: 512-895-8746                               Group

      Robert Bosch Corporation
      38000 Hills Tech Drive
                                                Linda Lynch, Sales
      Farmington Hills, MI 48331-3417
10.                                             Manager, General            Trade                            $15,069,265
                                                   Motors N.A.
      Tel: 248-848-2555
      Fax: 248-848-6505

      Siemens Automotive Ltd
      2400 Executive Hill Blvd.
                                                Peter H. Huizinga,
      Auburn Hills, MI 48326-2980
11.                                            Sales Manager, North         Trade                            $13,619,300
                                                  American Sales
      Tel: 248-209-5874
      Fax: 248-209-7877

      PBR Automotive USA Pacific Group
      Ltd
      140 Ellen Drive
12.   Orion Township, MI 48359                   Gordon Diag, VP            Trade                            $10,542,285

      Tel: 248-340-1290
      Fax: 248-377-4939

      DMC 2 Canada Corporation
      2347 Commercial Drive
      Auburn Hills, MI 48326
13.                                            Bill Staron, Senior VP       Trade                            $8,976,696
      Tel: 248-292-2261
      Fax: 248-340-2471
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                                                                                   Contingent,
                                          Person(s) Familiar
       Name, Address, Phone and Fax                                                Unliquidated     Approximate
                                            with Debtors’        Nature of Claim
              No. of Creditor                                                        and/or        Amount of Claim
                                               Account
                                                                                    Disputed

      NEC Electronics Inc
      Three Galleria Tower
      13155 Noel Road, Ste 1100            Jim Trent, General
14.   Dallas, TX 75240                    Manager, Automotive        Trade                            $8,896,819
                                                 SBU
      Tel: 972-855-5126
      Fax: 972-655-5133

      HSS LLC
      5446 Dixie Highway
      Saginaw, MI 48601                      David Bader,
15.                                                                  Trade                            $8,296,550
                                              President
      Tel: 989-777-2983
      Fax: 989-777-4818

      Tyco Electronics Corp

      Amperestrabe 12-14
      Bensheim, Germany D-64625
                                             Dr. Jurgen W.
      Tel: 49-0-62-51-133-1-202              Gromer, Vice
      Fax: 49-0-62-51-133-1-548              President Tyco
16.                                        International Ltd.,       Trade                            $8,278,304
      and                                  President and CEO
                                            Tyco Electronics
      P.O. Box 3608                               Corp.
      Harrisburg, PA 17105-3608

      Tel: 717-592-2298
      Fax: 717-592-7555

      Molex Inc
      222 Wellington Court                   Ron Schubel,
      Lisle, IL 60532-1682                  Executive Vice
17.                                                                  Trade                            $8,014,656
                                          President, President
      Tel: 630-718-5888                    Americas Region
      Fax: 630-813-5888

      Panasonic Automotive
      26455 American Drive
                                           Vince Sarrecchia,
      Southfield, MI 48034
18.                                           President,             Trade                            $7,429,854
                                             Headquarters
      Tel: 248-447-7111
      Fax: 248-447-7008
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                                                                                     Contingent,
                                           Person(s) Familiar
       Name, Address, Phone and Fax                                                  Unliquidated     Approximate
                                             with Debtors’         Nature of Claim
              No. of Creditor                                                          and/or        Amount of Claim
                                                Account
                                                                                      Disputed

      Olin Corp
      427 N Shamrock Street
      East Alton, IL 62024-1174            Devin Denner, Sales
19.                                                                    Trade                            $7,231,721
                                                Manager
      Tel: 618-258-26664
      Fax: 618-258-3481

      Methode Electronics Inc
      7401 W. Wilson
      Chicago, IL 60706
20.                                        Don Duda, President         Trade                            $6,397,471
      Tel: 708-867-6777
      Fax: 708-867-3288

      SGS Thompson
      Victor Park West
      19575 Victor Parkway
                                           Scott Shilling, Sales
21.   Livonia, MI 48152                                                Trade                            $6,386,126
                                                 Director
      Tel: 734-953-1711
      Fax: 734-462-4034

      Philips Semiconductors
      1817 Dogwood Drive
                                            Sam L. Trency,
      Kokomo, IN 46902
22.                                         Global Account             Trade                            $6,242,258
                                           Manager, Kokomo
      Tel: 765-868-3861
      Fax: 765-452-9915

      Infineon Technologies

      P.O. Box 80 09 49
      Munich, Germany 81609
                                              Peter Bauer,
      Tel: 49-0-89-234-8-52-00
23.                                          Executive Vice            Trade                            $5,582,352
      Fax: 49-0-89-234-8-52-02
                                               President
      and

      St.-Martin-Strasse 53
      Munich, Germany 81669
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                                                                                    Contingent,
                                           Person(s) Familiar
       Name, Address, Phone and Fax                                                 Unliquidated     Approximate
                                             with Debtors’        Nature of Claim
              No. of Creditor                                                         and/or        Amount of Claim
                                                Account
                                                                                     Disputed

      Aw Transmission Engineering Aisin   Ryo Ishibashi, Sales
      Seiki Co Ltd                              Contact
      Metro West Industrial Park
      14933 Keel St                               and
      Plymouth, MI 48170
24.                                           Kenji Ito, VP           Trade                            $5,509,700
      Tel: 734-416-1162
      Fax: 734-416-3844                           and

                                           Larry Khaykin, Sr.
                                            Sales Manager

      Applied Bio Systems
      850 Lincoln Centre Drive
      Foster City, CA 94404
25.                                          Ann Wagoner              Trade                            $5,491,366
      Tel: 650-638-6431
      Fax: 650-638-5998

      Alps Automotive Inc
      1500 Atlantic Blvd.
                                             Muneki Ishida,
      Auburn Hills, MI 48326
26.                                          General Sales            Trade                            $5,182,441
                                               Manager
      Tel: 248-393-7626
      Fax: 248-391-1564

      Texas Instruments Inc
      12900 North Meridian Street
      Suite 175 Ms 4070                   Brent Mewhinney, US
27.   Carmel, IN 46032                      Automotive Sales          Trade                            $5,041,608
                                                Manager
      Tel: 317-574-2626
      Fax: 317-573-6410

      Hitachi Automotive

      955 Warwick Rd
      Harrodsburg, KY 40330

      Tel: 248-482-0085                   Darrell Seitz, Senior
28.                                                                   Trade                            $4,979,093
      Fax: 248-474-5097                    Account Manager

      and

      34500 Grand River Avenue
      Farmington Hills, MI 48335
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                                                                                      Contingent,
                                            Person(s) Familiar
       Name, Address, Phone and Fax                                                   Unliquidated     Approximate
                                              with Debtors’         Nature of Claim
              No. of Creditor                                                           and/or        Amount of Claim
                                                 Account
                                                                                       Disputed

      Sharp Electronics Corp
      2613-1, Chinomoto, Cho, Tenri
                                           Akihiko Imaya, Group
      Nara, Japan 632-8567
29.                                           Deputy General            Trade                            $4,974,247
                                                 Manager
      Tel: 81-XXX-XX-XXXX
      Fax: 81-XXX-XX-XXXX

      Semiconductor Components
      2000 S County Trail
      East Greenwich, RI 02818               Lance Williams,
30.                                                                     Trade                            $4,865,672
                                             Director of Sales
      Tel: 734-953-6848
      Fax: 734-953-6860

      TRW Automotive
      12000 Tech Center Drive
      Livonia, MI 48150                       John Nielsen,
31.                                                                     Trade                            $4,821,907
                                              Director, Sales
      Tel: 734-266-3507
      Fax: 734-266-5704

      ISI of Indiana Inc
      1212 East Michigan St.
      Indianapolis, IN 46202
32.                                          Brad Countryman            Trade                            $4,760,039
      Tel: 317-631-7980
      Fax: 317-631-7981

      Traxle Manufacturing Ltd
      25300 Telegraph Rd.
      Ste 450 Raleigh Office Center
                                           Russ Pollack, Director
33.   Southfield, MI 48034                                              Trade                            $4,744,747
                                                 of Sales
      Tel: 248-355-3533
      Fax: 248-355-3558

      Waupaca Foundry Inc
      311 S Tower Rd
      Waupaca, WI 54981-0249
34.                                        Gary Thoe, Chairman          Trade                            $4,684,195
      Tel: 715-258-6611
      Fax: 715-258-1712
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                                                                                  Contingent,
                                           Person(s) Familiar
       Name, Address, Phone and Fax                                               Unliquidated     Approximate
                                             with Debtors’      Nature of Claim
              No. of Creditor                                                       and/or        Amount of Claim
                                                Account
                                                                                   Disputed

      Hitachi Chemical Asia Pacific

      Bedok Plant: 20, Bedock South Road
      Singapore, Singapore 469277

      Tel: 6241-9811
      Fax: 5455-407                        Y. Yokoya, Deputy
35.                                                                 Trade                            $4,562,688
                                           Managing Director
      and

      Loyang Plant: 32, Loyang Way
      Singapore, Singapore 508730

      Tel: 6542-8511

      American Axle & Manufacturing
                                             Joel Robinson
      Inc.
                                               President
      One Dauch Drive
36.   Detroit, MI 48211-1198                                        Trade                            $4,525,561
                                                  and
      Tel: 313-758-4217
                                             Bob Finn, CEO
      Fax: 313-974-2870

      TDK Corporation Of America
      1221 Business Center Drive
      Mount Prospect, IL 60056              Frank H. Avant,
37.                                                                 Trade                            $4,466,206
                                               President
      Tel: 847-803-6100
      Fax: 847-803-1125

      Pioneer Industrial Components
      (Pioneer Automotive Electronics
      Sales, Inc.)
      22630 Haggerty Road                   Kevin M. Martin
38.                                                                 Trade                            $4,189,855
      Farmington, MI 48335                  Senior VP, Sales

      Tel: 248-449-6799
      Fax: 248-449-1940

      Fujitsu Ten Corporation
      46029 Five Mile Road
                                           Chet Korzeniewski
      Plymouth, MI 48170
39.                                         V.P., Sales and         Trade                            $4,156,580
                                               Marketing
      Tel: 734-414-6651
      Fax: 734-414-6660
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                                                                                    Contingent,
                                           Person(s) Familiar
       Name, Address, Phone and Fax                                                 Unliquidated     Approximate
                                             with Debtors’        Nature of Claim
              No. of Creditor                                                         and/or        Amount of Claim
                                                Account
                                                                                     Disputed

      Solectron De Mexico SA de CV
      Solectron Invotronics
      26525 American Drive
                                             Ed Mike, Sales
40.   Southfield, MI 48034                                            Trade                            $4,129,744
                                                Manager
      Tel: 248-263-8714
      Fax: 248-263-8701

      TI Group Automotive System
      12345 E Nine Mile
      Warren, MI 48090                     Tim Kuppler, Vice
41.                                                                   Trade                            $3,990,388
                                               President
      Tel: 586-755-8312
      Fax: 586-427-3175

      Timken Company
      31100 Telegraph Road, Suite 270
      Bingham Farms, MI 48025             Brian Ruel, Director,
42.                                                                   Trade                            $3,619,957
                                                 Sales
      Tel: 248-554-4882
      Fax: 248-433-2253

      Engelhard Corporation
      101 Wood Ave
      Iselin, NJ 08830                    Barry Perry, Chairman
43.                                                                   Trade                            $3,577,915
                                                 & CEO
      Tel: 732-205-6497
      Fax: 732-906-0337

      Cataler North America Corp.
      7800 Chihama
      Kakegawa-City Shizuoka, Japan          Hironobu Ono,
44.                                                                   Trade                            $3,462,855
                                               President
      Tel: 81-XXX-XX-XXXX
      Fax: 81-XXX-XX-XXXX

      Pechiney Rolled Products
      39111 W Six Mile Rd.
      Livonia, MI 48152                      Jim Offer, Sales
45.                                                                   Trade                            $3,393,879
                                                Manager
      Tel: 734-632-8484
      Fax: 734-632-8483

      Autocam Corporation
      East Paris Avenue
      Kentwood, MI 49512                    Scott Dekoker,
46.                                                                   Trade                            $3,352,518
                                           Customer Manager
      Tel: 616-541-8551
      Fax: 616-698-6876
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                                                                                Contingent,
                                        Person(s) Familiar
       Name, Address, Phone and Fax                                             Unliquidated     Approximate
                                          with Debtors’       Nature of Claim
              No. of Creditor                                                     and/or        Amount of Claim
                                             Account
                                                                                 Disputed

      Futaba Corp Of America
      2865 Wall Triana Hwy
      Huntsville, AL 35824                Joe M. Dorris,
47.                                                               Trade                            $3,350,622
                                            President
      Tel: 256-461-7348
      Fax: 256-461-7741

      Victory Packaging
      3555 Timmons Lane
      Suite 1440
                                           Robert Egan,
48.   Houston, TX 77027                                           Trade                            $3,327,441
                                            President
      Tel: 713-961-3299
      Fax: 713-961-3824

      Murata Electronics North
      2200 Lake Park Drive
                                        David M. McGinnis,
      Smyrna, GA 30080-7604
49.                                     Director Automotive       Trade                            $3,234,841
                                               Sales
      Tel: 770-433-7846
      Fax: 678-842-6625

      Niles USA Inc                      Michael Rudnicki,
      41129 Jo Drive                     Account Manager
      Novi, MI 48375
                                               and
50.                                                               Trade                            $3,171,181
      Tel: 248-427-9700
      Fax: 248-427-9701                    Scot McColl,
                                           Business Unit
                                             Manager
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       DECLARATION CONCERNING THE DEBTOR’S LIST OF CREDITORS
            HOLDING THE FIFTY LARGEST UNSECURED CLAIMS

                I, John D. Sheehan, am the Vice President and Chief Restructuring Officer of
Delphi Corporation and in such capacity am familiar with the financial affairs of the Debtors. I
have reviewed the foregoing List of Creditors Holding the Fifty Largest Unsecured Claims, and
declare that the information contained therein is true and correct to the best of my knowledge,
belief and understanding.

Dated: October 8, 2005



                                                    s/ John D. Sheehan
                                                    John D. Sheehan
                                                    Vice President and Chief
                                                          Restructuring Officer

                                                          Delphi Corporation
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                              CONSOLIDATED LIST OF CREDITORS HOLDING
                                THE FIFTY LARGEST UNSECURED CLAIMS

                    Following is a list of the Debtors’ creditors holding the fifty largest unsecured
     claims on a consolidated basis with its debtor-affiliates.1 The list is prepared in accordance with
     Rule 1007(d) of the Federal Rules of Bankruptcy Procedure for filing a chapter 11 case. This list
     does not include (1) persons who come within the definition of an “insider” set forth in 11 U.S.C.
     § 101(31), or (2) secured creditors, unless the value of the collateral is such that the unsecured
     deficiency places the creditor among the holders of the fifty largest unsecured claims.

                                                                                             Contingent,
                                                  Person(s) Familiar
         Name, Address, Phone and Fax                                                        Unliquidated     Approximate
                                                    with Debtors’         Nature of Claim
                No. of Creditor                                                                and/or        Amount of Claim
                                                       Account
                                                                                              Disputed

     General Motors Corporation
     300 Renaissance Center
     P.O. Box 300
     Detroit, MI 48265-3000                                                                   Contingent
                                                                          Trade, Warranty,
1.                                                John Devine, CFO                               and             Unknown
                                                                             and Other
                                                                                             Unliquidated
     Tel: 313-665-4898 (Legal)
     Tel: 313-556-5000 (Main)
     Fax: 517-272-3709

     International Union of Electronic,
     Electrical, Salaried, Machine and
     Furniture Workers –
     Communications Workers of
     America                                                                                  Contingent
                                                    James D. Clark,         Wages and
2.   501 3rd Street N.W., 6th Floor                                                              and             Unknown
                                                       President             Benefits
     Washington, D.C. 20001                                                                  Unliquidated

     Tel: 202-434-1156
     Fax: 202-434-1343


     Pension Benefit Guaranty Corp
     1200 K Street, N.W.
                                                                                              Contingent
     Washington, D.C. 20005                      Jeffrey Cohen, Chief
3.                                                                           Guaranty            and             Unknown
                                                        Counsel
                                                                                             Unliquidated
     Tel: 202-326-4020
     Fax: 202-326-4112




     1
         All claims of affiliates are reported on a consolidated basis.
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                                                                                Contingent,
                                        Person(s) Familiar
      Name, Address, Phone and Fax                                              Unliquidated     Approximate
                                          with Debtors’       Nature of Claim
             No. of Creditor                                                      and/or        Amount of Claim
                                             Account
                                                                                 Disputed

     United Auto Workers
     8000 E. Jefferson
                                        Richard Shoemaker,
     Detroit, MI 48214                                                           Contingent
                                         Vice President &       Wages and
4.                                                                                  and             Unknown
                                           Director GM           Benefits
     Tel: 313-926-5000                                                          Unliquidated
                                            Department
     Fax: 313-823-6016


     United Steel Workers
     5 Gateway Center
     Pittsburgh, PA 15222                                                        Contingent
                                          Leo W. Gerard,        Wages and
5.                                                                                  and             Unknown
                                            President            Benefits
     Tel: 412-562-2400                                                          Unliquidated
     Fax: 412-562-2484


     Wilmington Trust Company
     Corporate Trust Office
     1100 North Market Street Rodney
     Square North,
                                        Steven M. Cimalore,
6.   Wilmington, DE 19890                                         Notes                           $2,000,000,000
                                           Vice President
     Tel: 302-636-6058
     Fax: 302-636-4143



     Law Debenture Trust Company of
     New York
     Corporate Trust Office
     780 Third Ave, 31st Floor
     New York, NY 10017

     Tel: 212-750-6474
                                          Patrick Healy,
     Fax: 212-750-1361
                                          Vice President
                                                                  Junior
     and
7.                                             and             Subordinated                       $412,371,975
                                                                  Notes
     Wilmington Trust Company
                                        Steven M. Cimalore,
     Corporate Trust Office
                                           Vice President
     1100 North Market Street Rodney
     Square North,
     Wilmington, DE 19890

     Tel: 302-636-6058
     Fax: 302-636-4143
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                                                                                          Contingent,
                                                Person(s) Familiar
        Name, Address, Phone and Fax                                                      Unliquidated     Approximate
                                                  with Debtors’         Nature of Claim
               No. of Creditor                                                              and/or        Amount of Claim
                                                     Account
                                                                                           Disputed

      Flextronics International Asia Pacific
      2 Robbins Road                             Joe Minville, Sr.
      Westford, MA 01886                        Director, Business
8.                                                                          Trade                            $40,781,535
                                               Development, Global
      Tel: 978-392-3015                        Automotive Markets
      Fax: 978-392-3011

      Freescale Semiconductor Inc              Paul Grimme, Senior
      6501 William Cannon Drive West            Vice President and
      Austin, TX 78735-8598                     General Manager,
9.                                                                          Trade                            $22,710,027
                                                Transportation and
      Tel: 512-895-2093                         Standard Products
      Fax: 512-895-8746                               Group

      Robert Bosch Corporation
      38000 Hills Tech Drive
                                                Linda Lynch, Sales
      Farmington Hills, MI 48331-3417
10.                                             Manager, General            Trade                            $15,069,265
                                                   Motors N.A.
      Tel: 248-848-2555
      Fax: 248-848-6505

      Siemens Automotive Ltd
      2400 Executive Hill Blvd.
                                                Peter H. Huizinga,
      Auburn Hills, MI 48326-2980
11.                                            Sales Manager, North         Trade                            $13,619,300
                                                  American Sales
      Tel: 248-209-5874
      Fax: 248-209-7877

      PBR Automotive USA Pacific Group
      Ltd
      140 Ellen Drive
12.   Orion Township, MI 48359                   Gordon Diag, VP            Trade                            $10,542,285

      Tel: 248-340-1290
      Fax: 248-377-4939

      DMC 2 Canada Corporation
      2347 Commercial Drive
      Auburn Hills, MI 48326
13.                                            Bill Staron, Senior VP       Trade                            $8,976,696
      Tel: 248-292-2261
      Fax: 248-340-2471
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                                                                                   Contingent,
                                          Person(s) Familiar
       Name, Address, Phone and Fax                                                Unliquidated     Approximate
                                            with Debtors’        Nature of Claim
              No. of Creditor                                                        and/or        Amount of Claim
                                               Account
                                                                                    Disputed

      NEC Electronics Inc
      Three Galleria Tower
      13155 Noel Road, Ste 1100            Jim Trent, General
14.   Dallas, TX 75240                    Manager, Automotive        Trade                            $8,896,819
                                                 SBU
      Tel: 972-855-5126
      Fax: 972-655-5133

      HSS LLC
      5446 Dixie Highway
      Saginaw, MI 48601                      David Bader,
15.                                                                  Trade                            $8,296,550
                                              President
      Tel: 989-777-2983
      Fax: 989-777-4818

      Tyco Electronics Corp

      Amperestrabe 12-14
      Bensheim, Germany D-64625
                                             Dr. Jurgen W.
      Tel: 49-0-62-51-133-1-202              Gromer, Vice
      Fax: 49-0-62-51-133-1-548              President Tyco
16.                                        International Ltd.,       Trade                            $8,278,304
      and                                  President and CEO
                                            Tyco Electronics
      P.O. Box 3608                               Corp.
      Harrisburg, PA 17105-3608

      Tel: 717-592-2298
      Fax: 717-592-7555

      Molex Inc
      222 Wellington Court                   Ron Schubel,
      Lisle, IL 60532-1682                  Executive Vice
17.                                                                  Trade                            $8,014,656
                                          President, President
      Tel: 630-718-5888                    Americas Region
      Fax: 630-813-5888

      Panasonic Automotive
      26455 American Drive
                                           Vince Sarrecchia,
      Southfield, MI 48034
18.                                           President,             Trade                            $7,429,854
                                             Headquarters
      Tel: 248-447-7111
      Fax: 248-447-7008
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                                                                                     Contingent,
                                           Person(s) Familiar
       Name, Address, Phone and Fax                                                  Unliquidated     Approximate
                                             with Debtors’         Nature of Claim
              No. of Creditor                                                          and/or        Amount of Claim
                                                Account
                                                                                      Disputed

      Olin Corp
      427 N Shamrock Street
      East Alton, IL 62024-1174            Devin Denner, Sales
19.                                                                    Trade                            $7,231,721
                                                Manager
      Tel: 618-258-26664
      Fax: 618-258-3481

      Methode Electronics Inc
      7401 W. Wilson
      Chicago, IL 60706
20.                                        Don Duda, President         Trade                            $6,397,471
      Tel: 708-867-6777
      Fax: 708-867-3288

      SGS Thompson
      Victor Park West
      19575 Victor Parkway
                                           Scott Shilling, Sales
21.   Livonia, MI 48152                                                Trade                            $6,386,126
                                                 Director
      Tel: 734-953-1711
      Fax: 734-462-4034

      Philips Semiconductors
      1817 Dogwood Drive
                                            Sam L. Trency,
      Kokomo, IN 46902
22.                                         Global Account             Trade                            $6,242,258
                                           Manager, Kokomo
      Tel: 765-868-3861
      Fax: 765-452-9915

      Infineon Technologies

      P.O. Box 80 09 49
      Munich, Germany 81609
                                              Peter Bauer,
      Tel: 49-0-89-234-8-52-00
23.                                          Executive Vice            Trade                            $5,582,352
      Fax: 49-0-89-234-8-52-02
                                               President
      and

      St.-Martin-Strasse 53
      Munich, Germany 81669
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                                                                                    Contingent,
                                           Person(s) Familiar
       Name, Address, Phone and Fax                                                 Unliquidated     Approximate
                                             with Debtors’        Nature of Claim
              No. of Creditor                                                         and/or        Amount of Claim
                                                Account
                                                                                     Disputed

      Aw Transmission Engineering Aisin   Ryo Ishibashi, Sales
      Seiki Co Ltd                              Contact
      Metro West Industrial Park
      14933 Keel St                               and
      Plymouth, MI 48170
24.                                           Kenji Ito, VP           Trade                            $5,509,700
      Tel: 734-416-1162
      Fax: 734-416-3844                           and

                                           Larry Khaykin, Sr.
                                            Sales Manager

      Applied Bio Systems
      850 Lincoln Centre Drive
      Foster City, CA 94404
25.                                          Ann Wagoner              Trade                            $5,491,366
      Tel: 650-638-6431
      Fax: 650-638-5998

      Alps Automotive Inc
      1500 Atlantic Blvd.
                                             Muneki Ishida,
      Auburn Hills, MI 48326
26.                                          General Sales            Trade                            $5,182,441
                                               Manager
      Tel: 248-393-7626
      Fax: 248-391-1564

      Texas Instruments Inc
      12900 North Meridian Street
      Suite 175 Ms 4070                   Brent Mewhinney, US
27.   Carmel, IN 46032                      Automotive Sales          Trade                            $5,041,608
                                                Manager
      Tel: 317-574-2626
      Fax: 317-573-6410

      Hitachi Automotive

      955 Warwick Rd
      Harrodsburg, KY 40330

      Tel: 248-482-0085                   Darrell Seitz, Senior
28.                                                                   Trade                            $4,979,093
      Fax: 248-474-5097                    Account Manager

      and

      34500 Grand River Avenue
      Farmington Hills, MI 48335
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                                                                                      Contingent,
                                            Person(s) Familiar
       Name, Address, Phone and Fax                                                   Unliquidated     Approximate
                                              with Debtors’         Nature of Claim
              No. of Creditor                                                           and/or        Amount of Claim
                                                 Account
                                                                                       Disputed

      Sharp Electronics Corp
      2613-1, Chinomoto, Cho, Tenri
                                           Akihiko Imaya, Group
      Nara, Japan 632-8567
29.                                           Deputy General            Trade                            $4,974,247
                                                 Manager
      Tel: 81-XXX-XX-XXXX
      Fax: 81-XXX-XX-XXXX

      Semiconductor Components
      2000 S County Trail
      East Greenwich, RI 02818               Lance Williams,
30.                                                                     Trade                            $4,865,672
                                             Director of Sales
      Tel: 734-953-6848
      Fax: 734-953-6860

      TRW Automotive
      12000 Tech Center Drive
      Livonia, MI 48150                       John Nielsen,
31.                                                                     Trade                            $4,821,907
                                              Director, Sales
      Tel: 734-266-3507
      Fax: 734-266-5704

      ISI of Indiana Inc
      1212 East Michigan St.
      Indianapolis, IN 46202
32.                                          Brad Countryman            Trade                            $4,760,039
      Tel: 317-631-7980
      Fax: 317-631-7981

      Traxle Manufacturing Ltd
      25300 Telegraph Rd.
      Ste 450 Raleigh Office Center
                                           Russ Pollack, Director
33.   Southfield, MI 48034                                              Trade                            $4,744,747
                                                 of Sales
      Tel: 248-355-3533
      Fax: 248-355-3558

      Waupaca Foundry Inc
      311 S Tower Rd
      Waupaca, WI 54981-0249
34.                                        Gary Thoe, Chairman          Trade                            $4,684,195
      Tel: 715-258-6611
      Fax: 715-258-1712
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                                                                                  Contingent,
                                           Person(s) Familiar
       Name, Address, Phone and Fax                                               Unliquidated     Approximate
                                             with Debtors’      Nature of Claim
              No. of Creditor                                                       and/or        Amount of Claim
                                                Account
                                                                                   Disputed

      Hitachi Chemical Asia Pacific

      Bedok Plant: 20, Bedock South Road
      Singapore, Singapore 469277

      Tel: 6241-9811
      Fax: 5455-407                        Y. Yokoya, Deputy
35.                                                                 Trade                            $4,562,688
                                           Managing Director
      and

      Loyang Plant: 32, Loyang Way
      Singapore, Singapore 508730

      Tel: 6542-8511

      American Axle & Manufacturing
                                             Joel Robinson
      Inc.
                                               President
      One Dauch Drive
36.   Detroit, MI 48211-1198                                        Trade                            $4,525,561
                                                  and
      Tel: 313-758-4217
                                             Bob Finn, CEO
      Fax: 313-974-2870

      TDK Corporation Of America
      1221 Business Center Drive
      Mount Prospect, IL 60056              Frank H. Avant,
37.                                                                 Trade                            $4,466,206
                                               President
      Tel: 847-803-6100
      Fax: 847-803-1125

      Pioneer Industrial Components
      (Pioneer Automotive Electronics
      Sales, Inc.)
      22630 Haggerty Road                   Kevin M. Martin
38.                                                                 Trade                            $4,189,855
      Farmington, MI 48335                  Senior VP, Sales

      Tel: 248-449-6799
      Fax: 248-449-1940

      Fujitsu Ten Corporation
      46029 Five Mile Road
                                           Chet Korzeniewski
      Plymouth, MI 48170
39.                                         V.P., Sales and         Trade                            $4,156,580
                                               Marketing
      Tel: 734-414-6651
      Fax: 734-414-6660
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                                                                                    Contingent,
                                           Person(s) Familiar
       Name, Address, Phone and Fax                                                 Unliquidated     Approximate
                                             with Debtors’        Nature of Claim
              No. of Creditor                                                         and/or        Amount of Claim
                                                Account
                                                                                     Disputed

      Solectron De Mexico SA de CV
      Solectron Invotronics
      26525 American Drive
                                             Ed Mike, Sales
40.   Southfield, MI 48034                                            Trade                            $4,129,744
                                                Manager
      Tel: 248-263-8714
      Fax: 248-263-8701

      TI Group Automotive System
      12345 E Nine Mile
      Warren, MI 48090                     Tim Kuppler, Vice
41.                                                                   Trade                            $3,990,388
                                               President
      Tel: 586-755-8312
      Fax: 586-427-3175

      Timken Company
      31100 Telegraph Road, Suite 270
      Bingham Farms, MI 48025             Brian Ruel, Director,
42.                                                                   Trade                            $3,619,957
                                                 Sales
      Tel: 248-554-4882
      Fax: 248-433-2253

      Engelhard Corporation
      101 Wood Ave
      Iselin, NJ 08830                    Barry Perry, Chairman
43.                                                                   Trade                            $3,577,915
                                                 & CEO
      Tel: 732-205-6497
      Fax: 732-906-0337

      Cataler North America Corp.
      7800 Chihama
      Kakegawa-City Shizuoka, Japan          Hironobu Ono,
44.                                                                   Trade                            $3,462,855
                                               President
      Tel: 81-XXX-XX-XXXX
      Fax: 81-XXX-XX-XXXX

      Pechiney Rolled Products
      39111 W Six Mile Rd.
      Livonia, MI 48152                      Jim Offer, Sales
45.                                                                   Trade                            $3,393,879
                                                Manager
      Tel: 734-632-8484
      Fax: 734-632-8483

      Autocam Corporation
      East Paris Avenue
      Kentwood, MI 49512                    Scott Dekoker,
46.                                                                   Trade                            $3,352,518
                                           Customer Manager
      Tel: 616-541-8551
      Fax: 616-698-6876
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                                                                                Contingent,
                                        Person(s) Familiar
       Name, Address, Phone and Fax                                             Unliquidated     Approximate
                                          with Debtors’       Nature of Claim
              No. of Creditor                                                     and/or        Amount of Claim
                                             Account
                                                                                 Disputed

      Futaba Corp Of America
      2865 Wall Triana Hwy
      Huntsville, AL 35824                Joe M. Dorris,
47.                                                               Trade                            $3,350,622
                                            President
      Tel: 256-461-7348
      Fax: 256-461-7741

      Victory Packaging
      3555 Timmons Lane
      Suite 1440
                                           Robert Egan,
48.   Houston, TX 77027                                           Trade                            $3,327,441
                                            President
      Tel: 713-961-3299
      Fax: 713-961-3824

      Murata Electronics North
      2200 Lake Park Drive
                                        David M. McGinnis,
      Smyrna, GA 30080-7604
49.                                     Director Automotive       Trade                            $3,234,841
                                               Sales
      Tel: 770-433-7846
      Fax: 678-842-6625

      Niles USA Inc                      Michael Rudnicki,
      41129 Jo Drive                     Account Manager
      Novi, MI 48375
                                               and
50.                                                               Trade                            $3,171,181
      Tel: 248-427-9700
      Fax: 248-427-9701                    Scot McColl,
                                           Business Unit
                                             Manager
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       DECLARATION CONCERNING THE DEBTOR’S LIST OF CREDITORS
            HOLDING THE FIFTY LARGEST UNSECURED CLAIMS

                I, John D. Sheehan, am the Vice President and Chief Restructuring Officer of
Delphi Corporation and in such capacity am familiar with the financial affairs of the Debtors. I
have reviewed the foregoing List of Creditors Holding the Fifty Largest Unsecured Claims, and
declare that the information contained therein is true and correct to the best of my knowledge,
belief and understanding.

Dated: October 8, 2005



                                                    s/ John D. Sheehan
                                                    John D. Sheehan
                                                    Vice President and Chief
                                                          Restructuring Officer

                                                          Delphi Corporation
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